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 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 6
     UNITED STATES OF AMERICA,                       )
 7                                                   )
                             Plaintiff,              )    Case No. CR06-425-MJP
 8         v.                                        )
                                                     )    PROPOSED FINDINGS OF FACT AND
 9 FERNANDO CIENFUEGOS,                              )    DETERMINATION AS TO ALLEGED
                                                     )    VIOLATIONS OF SUPERVISED
10                           Defendant.              )    RELEASE
                                                     )
11

12                                         INTRODUCTION

13         I conducted a hearing on alleged violations of supervised release in this case on August 27,

14   2008. The defendant appeared pursuant to a summons. The United States was represented by the

15   Doug Whalley, and defendant was represented by Kevin Peck. Also present was U.S. Probation

16   Officer Monique Neal. The proceedings were digitally recorded.

17                                 CONVICTION AND SENTENCE

18         Defendant was sentenced on January 25, 2008 by the Honorable Marsha J. Pechman, for

19   conspiracy to distribute heroin. He received 357 days of imprisonment and three years of

20   supervised release.

21                           PRIOR VIOLATIONS OR MODIFICATIONS

22         On January 25, 2008, defendant commenced his term of supervised release. On February

23 19, 2008, defendant violated his conditions of supervision by using oxycodone, alcohol, heroin,

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -1
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 1 and methamphetamine. On March 19, 2008, at the recommendation of the probation office, the

 2 court took no action as the defendant was in the process of entering outpatient substance abuse

 3 treatment.

 4                          PRESENTLY ALLEGED VIOLATIONS AND
                         DEFENDANT'S ADMISSION OF THE VIOLATIONS
 5
           In a petition dated July 25, 2008, Supervising U.S. Probation Officer Monique Neal
 6
     alleged that defendant violated the following conditions of supervised release:
 7
           1. Using oxycodone on or before the boring 19, 2008.
 8
           2. Using alcohol, heroin, and methamphetamine on or before March 3, 2008.
 9
           3. Using heroine on or before April 28, 2008.
10
           4. Using methamphetamine and OxyContin on or before June 4, 2008.
11
           In a petition dated August 20 6, 2008, Supervising U.S. Probation Officer Monique Neal
12
     alleged that defendant violated the following conditions of supervised release:
13
           5. Using Vicodin on or before July 31, 2008.
14
           6. Using morphine on or before August 7, 2008.
15
           7. Using cocaine on or before August 12, 2008.
16
           After being advised of his right to require the government to prove the alleged violations
17
     and penalties, defendant admitted violations 1, 2, 3, 4, 5 and 6. Following defendant’s
18
     admissions, the government withdrew violation 7. The government also moved that the
19
     defendant be detained. The defense moved for release. The Court ordered defendant be detained
20
     pending disposition in this case.
21
     //
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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -2
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 1                        RECOMMENDED FINDINGS AND CONCLUSIONS

 2       Based upon the foregoing, I recommend the court find that defendant has violated conditions

 3   1,2, 3, 4, 5, and 6 of his supervised release as alleged above.

 4         DATED this 27th day of August, 2008.

 5                                                        s/ BRIAN A. TSUCHIDA
                                                          BRIAN A. TSUCHIDA
 6                                                        United States Magistrate Judge

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -3
